
GREEN, J.
delivered the opinion of the court.
This bill alleges that the wife of complainant, McNew? then Rebecca Pack, made a verbal contract with the defendant, for the purchase of twenty acres of land to include the *28cabin she lived in, at the price of $ 1 50 per acre. She paid $26 00, and the defendant refused to receive the remaining four dollars or to make a deed.-
The Chancellor decreed that the money received be refunded with interest, that the defendant pay for improvements, and that complainants account for the rents and profits.
By tíre Master’s report it appears that the money paid for the land and interest and the value of the improvements amounts to $46 77 and the rents and profits to $35 42, leaving a balance in favor of complainants of #11 35.
The Chancellor decreed that the complainants recover the amount reported in their favor, and the costs, and that the clerk and master sell the land in the pleadings mentioned, in discharge of the money decreed.
We think there is error in this decree. The money advanced orí the verbal contract for the land, created no lien on the land itself for the repayment of the sum so advanced. The Chancellor, therefore, was not ¡authorized to decree a sale of the land in execution of the decree. It could only be liable in the event there were no personal- goods.
But in this case the court had no jurisdiction of the sum demanded. The whole demand, money advanced and interest, and, the value of the improvements is only $46 77. And this sum is reduced by the. rents and profits to $11 35.
The Act of 1801, ch. 6, sec. 1, (Caruthers and Nicholson, 215,) declares that “The court of equity shall not have jurisdiction of any debt or demand of less value than fifty dollars.”
This case presents a mere money demand for $46 77, less than the sum which gives a court of chancery jurisdiction. It is not the case of a large demand reduced below fifty dollars by payments and opposing claims; — but the entire sum reported in favor of the complainants is too small to give the court jurisdiction.
The decree must be reversed and the bill dismissed without prejudice — and each party shall pay half the costs.
